         Case 1:17-vv-01352-UNJ Document 92 Filed 02/12/21 Page 1 of 2




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*************************
CAPRICE BRITT,             *
                           *                        No. 17-1352V
               Petitioner, *                        Special Master Christian J. Moran
                           *
v.                         *
                           *                        Filed: February 12, 2021
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
*************************

                                           ORDER
        On February 10 and 11, 2021, a hearing was held in this case. During the hearing,
additional documents were identified as missing and potentially informative. Specifically, it was
discovered that Dr. Dantuluri’s office may have other probative records, including intake forms
for Ms. Britt and nurses notes from an October 28, 2016 visit. Additionally, Ms. Britt testified
that she may have had flu shots administered in the years preceding her alleged injury.

       Accordingly, the following is ORDERED:

       1. From Dr. Dantuluri’s office, Petitioner shall file Ms.Britt’s intake form and any
          nurse’s notes pertaining to the October 28, 2016 visit by Monday, March 15, 2021.

       2. Petitioner shall file medical records for previous flu vaccinations by Monday, March
          15, 2021.

       Any questions regarding this order may be directed to my law clerk, Jason Wiener, at
(202) 357-6360.
       IT IS SO ORDERED.
                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master
Case 1:17-vv-01352-UNJ Document 92 Filed 02/12/21 Page 2 of 2




                             2
